                                                     U.S. Department of Justice

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                                                     Eastern District of Wisconsin

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                                                     August 26, 2018
U.S. Magistrate David E. Jones
Federal Courthouse, Courtroom 254
517 E. Wisconsin Ave.
Milwaukee, WI 53202

       Re:     U.S. v. Ganos et al., 18-CR-00062 (PP-DEJ)

Dear Judge Jones:

       The parties in the above-captioned matter have agreed to a slight modification of the briefing
schedule for pre-trial motions:

      Responses by the United States due on September 7, 2018 instead of September 3, 2018;
      Replies by the various defendants due on September 17, 2018 instead of September 12, 2018.

This modified schedule will still allow for briefing to be completed before the scheduled hearing date
(September 20, 2018).

       Accordingly, the parties request that you enter an order reflecting the agreed upon briefing
schedule.


                                             Sincerely,

                                             s/ Zachary J. Corey
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